Case 9:24-cv-80911-AMC Document 18 Entered on FLSD Docket 12/04/2024 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                                           CASE NO.: 9:24-cv-80911-AMC
  HOWARD COHAN,

         Plaintiff,

  vs.

  CSC BRAZILIAN, L.P.,
  a Foreign Limited Partnership;
  DINEX PB MANAGEMENT, LLC,
  a Foreign Limited Liability Company,

        Defendant(s).
  ____________________________________/
              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff, HOWARD COHAN and his

  undersigned counsel hereby give notice that the above captioned action is voluntarily dismissed,

  with prejudice against Defendants, CSC BRAZILIAN, L.P., a Foreign Limited Partnership;

  DINEX PB MANAGEMENT, LLC, a Foreign Limited Liability Company.

                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on December 4, 2024, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on counsel of record in this action via transmission of Notices of Electronic

  Filing generated by CM/ECF.

                                         By: /s/ Gregory S. Sconzo
                                         GREGORY S. SCONZO, ESQUIRE
                                         Florida Bar No.: 0105553
                                         SAMANTHA L. SIMPSON, ESQ.
                                         Florida Bar No.: 1010423
                                         Primary Email: greg@sconzolawoffice.com
                                         Primary Email: samantha@sconzolawoffice.com
                                         Secondary Email: perri@sconzolawoffice.com
Case 9:24-cv-80911-AMC Document 18 Entered on FLSD Docket 12/04/2024 Page 2 of 2




                               Sconzo Law Office, P.A.
                               3825 PGA Boulevard, Suite 207
                               Palm Beach Gardens, FL 33410
                               Telephone: (561) 729-0940
                               Facsimile: (561) 491-9459
